
65 So.3d 131 (2011)
Dominique Louise BRICE, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-5281.
District Court of Appeal of Florida, Fourth District.
July 6, 2011.
Thomas G. Bowman of The Law Office of Thomas G. Bowman, P.A., Miami, for appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Melynda Melear, Assistant Attorney General, West Palm Beach, for appellee.
*132 PER CURIAM.
Affirmed without prejudice to appellant's raising issues of ineffective assistance of counsel by appropriate post-conviction relief proceedings.
MAY, C.J., TAYLOR and CONNER, JJ., concur.
